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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

            Plaintiff,

                   v.                                 CRIMINAL NO. 15-739 (PAD)

 JAVIER MUÑIZ ALVAREZ [5],

            Defendant.


                                               ORDER

          The court has evaluated the Report and Recommendation made by U.S. Magistrate Judge

Camille L. Vélez-Rivé regarding the Rule 11 proceeding of defendant, Javier Muñiz Alvarez

(Docket No. 337), to which no objections have been filed. The court finds the plea entered by the

defendant was knowingly, voluntary and intelligently entered with awareness of his rights and the

consequences of pleading guilty. The plea is therefore accepted and the defendant is adjudged

guilty as to Count One of the Indictment.

          The court notes that a Presentence Investigation Report was ordered (Docket No. 336). It

shall be filed not later than September 29, 2016. The court will set the Sentencing Hearing in due

course.

          SO ORDERED.

          In San Juan, Puerto Rico, this 21st day of July, 2016.

                                                       S/Pedro A. Delgado-Hernández
                                                       PEDRO A. DELGADO HERNANDEZ
                                                       United States District Judge
